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               Exhibit 1
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                                                Chubb and Son,
                     a Division of Federal Insurance Company,
               for itself and a_s_ servicer for th_e Chubb Corpora_tion a_n d_it_
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               10s u ranee com pan ya- su s1- 1anes, or as· man ager o 1 s insurance
                                        com pan -subsidiaries.
                                                   ''Chubb"
                                                 {PRIVATE}


                             Maintenance of Renewal Processing Rules




                                                   02/03/2006



                                                Deadline
                                         Response Required by
                                       02/17/06 for docum~ntation
                                    03/10/06 for on-site presentations




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                                                 CONFIDENTIAL

           Disclaimer

          Your company is to treat the terms of this Request for Information ("RFI'') and all other
          information provided by us in connection with this initiative to review our requirements of services
          as strictly confidential and proprietary to Chubb.

          In submitting information, your company agrees that all materials associated with, attached to, or
          referenced by your information may be incorporated into a subsequent contractual agreement
          between your company and Chubb. All costs associated with the preparation of an informational
          packet are to be borne by the bidder, and the submission of such in no way obligates Chubb to any
          submitter.

          Your response to this RFI indicates your understanding that this is not a contract or offer of
          business by Chubb.




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           1.1 Introduction

          Background/Statement ofPurpQse
          Chubb and Son, ("Chubb") is an international P1operty and Casualty in:surnnce company ""holly
          owned by Federal Insurance Company. Chubb' s worldwide.headquarters- is. located in Warren,
          New Jersey.                                 ·


          Chu:bb's business .is divided into three strategic business units - two commercial. units, and one
          personal P&C unit. Chubb Con:roJercial Insurance (''CCT") a:nd Chubb Specialty Ins1.tran.ce
          ("CST'') make up the two commercial units. CCI is focused on standard commercial i.nsuram;:e -
          workers ¢ompensation, boiler, cargo, 11iland marine, et-0. CSI ,._,,rites executive protection,
          employment pra.ctices liability, etc. Chubb Personal lnsurance (''CPI"} writes homeowners,
          valuable article1>, -auto insurance, etc

          Chubb Specialty Insurance gets the. majority of its revenue, typically achieved via premiums,
          froin a relatively smaU number of very large accounts. They have approximately 1000
          employees in this line of business driving $3 .5B in revenue. 111e key strategic initiative i;n this
          area is expanding and growing the business into mid-market and smaller accounts. This is
          viewed as a good opportunity as it is understood tha:t 85% of the identified and targeted
          customer set does not cum;ntly buy Chubb products. Chubb Specialty does not <>Wn a fieW
          force and doe~ not do direct sales, but they view people in the field (agents and agencies) at the
          point of sale as being il key differer1tiator to their busines-s.                   ·

          There is an initiative to m<>ve work tq service e·e nters so CSR's/[Jnqei:writers can. focus more--~- -( Formatted: Justified
          time on marketing and selling to thes.e agents and .a gencies.                                         .____ _ _ _ __ __ _ _ _ __.,
          Movement to mid-matket and smaller accounts has proven to be difficult, as this re.quires the
          team and systems to handle an increased volume of work (more transactions, polic,ies, claims,
          etc.) in an environment where Chublis current "Expense Management Strategy" does not alfow
          for increases itl :staffing. llliffi-f¾l:ff!4t>-w-nat-~~H:!lffll!gh-.lW.~w;i;!--eH-too.-that.-t,he;;e-sam~
          ioo-i'riffi:lak-afi'-AnflEIJ.iflg -m¼th--M~""':r-&-AtlfJHi-,;ili1c1rn;,--alHng--wi-th--ooth--retai-.R~hu:iEl--~w
                                          0



          bm:in..1ss. Chubb currently .has several ''support centers;', with Simsbury being the largest
          handling 70% of the work, which support agents: working out 0f agencies in the field. ~~
          ~&-ll·ll:!i-lHIIH-~1>--il-!j-Sl)f.OO-What'--·lflllit-Vilt't'-'e-,--,O(;t---fif:fl--lo--tlluf~l---but-~o~m-.afle1i,-+hey--vww
          ~h'<:!S--il£-·=peFfe11lefs-'.!,-There .i s cw-rendy a forge portfoli• (140) of cl.1$tomized prod\.1ct$
          with a desire, on the part of the ProduQt Managers, to creat¢ new products as a good way lei seU
          and to
          ~aerate buzz in the marketplace. The Prodi1ct Management team feels .that this is a
          differentiator in the .rnarketplaye, [t wa:; also neted that ·'Prise·, is key, aJ Clmha RIO'/t!S inte ~
          Mid Market and · i-i!f1alier busiaes:, areR!i.. lt iu however, important · to · matsh sEilllf.!Otitar':;
          eflf:lori;era,n-.ts ia a timely maunef.




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          Current CSI Business Goal~
                • Redtice tinte to.market of new-products
                • Enhance relation.ship with producers
                • Enhance servi.ees provided for .internal custotners.
                • Quickly adapt to changes in regi.1lations

          Current CSI rr Environment


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                                                                                                                              Vol11.:y Gtst:'Y~
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          from an arch.iteetwal perspective the CSI environment can be broken out into four distinct
          silos: Underwriting, Rating, Claims, and Reporting. The thick client VndernTiting applicatioh
          i:s referred to as CSJ Express. The CSl ExpteS$ application is designed as a traditional
          client/server application. Written in Visual Basic.N_ET, tbi~ application consists of
          approximately 90 solu:tions, 20 of which are executables, with the rest being shared DLLs .. CSI
          eXPRESS interacts with the backend "UWS" Ii.1.fonrtix database using AbO.NE'f. It also
          communicates '>''1th a mainframe system using IBM MQ Series and a set -of MQ "UW Service·s"
          provided by the Chubb CCI divisi~m. The&e servi.ees act as a layer between csr Express and the
          DB2 database inWart:en, NJ.

         Addition;ally the~ is aiso a standafone t;hin.client applic.ati9n, whieh does the rating of
         submissions. This appliQation is developed using the .IBM Websphere Studio Application
         Developer. This standalone. application has a Web-based front end and interfaces with the
         VB.NET portion ofCSI eXPRESS. The interface between CSI Express and the tl)ting
         .application is based foosely on a repositc,ry design style witl;i the Infonnix based "UWS"
         data base as the central repository. 'fhe rating application uses the DuokCreek rating .engine to
         prov,ide screen defi.nitiori and a black box rating calculatiot1. The DuckCreek engine is based on
         Micrnsoft technology am} resides on a set ofWimfows 200 s,e;.rvers. Tbe interaction between tne



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           Java front-end and the DuckCreek back-end utilizes the HTTP protocol passing XNlL message
           based data documents.

          There is also a thick client Claims application that is based on Centura and is largely out of
          scope for this engagement. The reporting system is primarily based in the COGNOS suite of
          tools accessing data from the "IDS" database. The "IDS database is populated by a combination
          of Informix replication and Informatica ETL jobs.


          Renewal Processing : Current State
          Within CSI, there currently is a batch process that runs on a monthly basis that creates renewal
          submissions that will be input to the CSI front-end application. This batch application is written
          in Java and includes the business rules in effect for categorizing renewal business. When
          requested and prioritized by the business, these rules are modified by a developer based on
          business requirements. The categories determine which renewal policies must be reviewed by
          an underwriter and which can be handled by a Specialty .Underwriting Assistant (SUA). The
          more renewal policies that fall into the latter category, the more time the underwriter has to
          develop and produce additional business. For example, one category has to do with what is
          called "Section 1" rules within CSI renewal business. Certain renewal policy attributes such as
          the amount of the limits, the existence of cJaims, the amount of the deductibles, term length are
          checked to see if the renewal fits the criteria and would therefore require an underwriter's
          attention. These categories may vary over time and the solution must include the ability to
          redefine the categories and the definition of the categories and criteria.

          One example of a category structure is as follows:
          Section 1 - automatic renewal, no underwriter review necessary.
          Section 2 - review by underwriter required
          Section 3 - alternate products are recommended. Underwriter involvement required.
          Section 4 - do not renew, underwriter involvement requirement.

          Parameters that may be used in determining the classification of the renewing policy include,
          but are not limited to:
              • Limits
              • Deductibles
              • Presence of claims
              • Number of employees
              • Risk state
              • Type of product

          Rules are defined and are spread over a multitude of systems. This lack of structure has led to
          difficulties in updating and/or extending the current rules when required by the business.
          Business rules are seen as preventing flexibility and reuse. Limited modeling activities are
          currently being completed.




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            1.2 Confidentiality

          The terms of this RPI, and all other information provided in connection with this review of
          expenses, are to be treated by your company as strictly confidential and proprietary to Chubb. All
          data, business information, computer programs and documentation, studies, reports or other
          documents are to be used solely for the purpose of responding to this inquiry. Access shall not be
          granted to third parties except upon prior written consent of Chubb and upon the written agreement
          of the intended recipient to treat the same as confidential. We may request at any time that any of
          our material be returned or destroyed.

          Should your company decide against responding to this Request for Proposal, please remit all
          materials and any duplicates thereof to:

          James W. Black
          Vendor Management Department
          Chubb & Son, a division of Federal Insurance Company
          15 Mountain View Road
          Warren, New Jersey 07059


          1.3 Information Package Guidelines

          Informational Package Preparation
          This RFI seeks to establish a common framework within which the Request for Proposal may be
          reached. It should be noted, however, that any resulting proposal will constitute an offer to do
          business on the terms stated therein and, should a contract result, Chubb may, at its option,
          incorporate all or any part of your proposal in the contract.

          Your company is responsible for resolving any uncertainty or need for clarification you may have
          concerning this RFI, Chubb requirements, or the proposal. All expenses related to developing and
          submitting this Request for Information are entirely the responsibility of your company, and the
          submission of the information in no way obligates Chubb to you or any other submitter.

          Where the words "shall" or "must" are used, it signifies an absolute minimum function or capacity
          which, if not satisfied in the proposal, may result in disqualification in the final evaluation. Where
          the words "should," "may," or "is desirable" are used, it signifies desirable but not mandatory
          functions or capacities. Suppliers who are able to provide these functions or capacities may be
          evaluated more favorably than those who cannot.

          Most Favored Nations
          Not withstanding any other provision of this evaluation, all the prices, warranties, benefits and
          terms granted by the vendor to Chubb hereunder are hereby warranted by the vendor to be
          comparable to, or more favorable to, Chubb than the equivalent prices, warranties, benefits, and
          terms that are being offered by the vendor to any of its other customers for comparable or equal


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          products, and services during the tettn of the proposed agreement lf the vendor, during the terril of
          the proposed agreement, enters, into arrangements with any other cusitomer providing greater
          benefits or more favorable tetms, th.\s proposed agreement should thereupon be amende(;l to refle<;t
          benefits or terms of simi:1/rr scope.               ,

          Information Evaluation
          fufonnational packages submitted may be reviewed and evafoated by any person at the discretion
          of Chtibb, iitcludi11g non-allied and independent consultants retained by Ch1,1bb l)OW, or in the
          future, for the sole purpose of obtaining evaluations of proposals. Any and all suppliers may be
          asked to further explain or clarify ln writing areas of their submission during the evaluation
          process.

          Bid Evalaatiqn
          Chubb will evaluate submissions based on the following factors:
          • Cost
               • Initial unplementatfon includrng software and services
               •Technical support contract
               •Type ,o f licensing
               •.Cost for en<;I us(;lr support
               •Need for additional hardware
               • Fixed bid is prefetred
          •    The Vendor's financW strength
               • Nwnber of years in business
               • Age of the software/solution. Has it been proven in the marketplace
               • Has the vendor experienced any fmancial hardships
               • Is the company publicly or privately held
               • Number ofemployees
          •    The Vendor's ability to provide reliable services, software, hardware ancVor technical suppotl;
               including the quality of services and/or products,
                •  Referrals from existing clients (users of both products and services)
               •   Examples of customers "in similar industry niches and how software solution is utilized
               •   Support staff - nw,ber, av~titge yem-s of expeiience
               ,•  Techn:iQal support policy ~ SLA for: resolving jssues, where is the support staff located
                   (houts of availability)
               •   Is there a training program a:nd/or materials.for the end uset
               •   Isthere a !raining program and/or materials for the Chubb technical staff
               ~ What is the proctiss for ~uppqrting end llSer qu,e~tions post jmplementation
               •   Documentation for the, technical staff and end users will ·1:,e available, complete and,

               • accurate
                 Vv'hat is the fh:quency of product releases, and for what reason (upgrade versll,S fix)

          •    The Vendor;s ability ,and willingness to aid in configuring the proposed solution to meet
               Chubb':s needs


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               • Availability of onsite consulting services
               • Willingness to partner with Chubb technical staff for development and implementation
           •   The ability to integrate third-party software products and or services
               •  How well does the solution fit into Chubb's current architecture
               •  Amount of effort required to integrate the solution into Chubb's current architecture
               •  What services are included/excluded, e.g., post-implementation support

          •    The level of complexity of the proposed solution
               •  The extent to which Chubb will need to train current IT employees in the support of the
                  solution
               •  The extent to which Chubb will need to train current end user employees in the use of the
                  solution
               •  The degree and amount of customization required to meet Chubb's business needs
               •  The proportion of changes in rules versus code in the post-implementation environment, for
                  example, the conditions and percentage of time that IT would be required to modify and/or
                  add rules or categories                        ·
                                                                                                                              ;   ....:



          •    The Vendor's willingness to accept the terms and conditions of Chubb's standard Master
               Services Agreement
          •    The overall quality and presentation of the Vendor's response to this RFI
          •    Other factors which Chubb considers significant


          Terms ofNegotiation

          While the information requested in this RFI is fairly comprehensive, Chubb retains the right to
          request further information from and conduct negotiations with those suppliers it deems qualified.
          Furthermore, Chubb reserves the right to reject any and all Infonnation submitted and to terminate
          negotiations at any time without incurring any liability. Chubb reserves the right to select one or
          more suppliers.




          1.4 RFI Process and Timing


          Questions

         Any and all questions and/or comments associated with this RFI process must be directed to Chubb
         in writing via FAX to James W. Black at fax # 908-903-2008 or via EMAIL to
         jwblack@chubb.com by no later than 02/10/06




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           Vendors are to designate, and provide Chubb with,, one point of contact for all RFI
           communications. Each supplier is responsible for notifying Chubb immediately of any
           t;l1ange ~o such point of conta~ We will distribute all relevant questions and llll$Wen; by retum
          FAX or EMAit ID each prospective supplier.                                                    ·

           Submis,vion Deadline

          Seven (7) hard copies ofyour informational package along with an electronic copy (in Adobe
          p(Jf,MS Powerpojnt C>r MS Word format) ~re tp be received by Chubb no later than 5:00PM
          (E'l) on February t1, 2006. One of the copies must be unbound.

          $end them to:

           Jan'.les W. Black
           Vendor Manag_ement Department.
           Chubb & Son, a diyision ofFederal Insurance Company
           15 Mountai11 View Road
           Watren, New Jersey 07059
          j\.Vblack@chubb.com

          Packages received after the time and date specified above may, at Chubb's discretion, not be
          considered.


          Results Notification

          We plan to irtfonu you whether your company has been selected for continued discussions within.
          four (4) weeks after the deadline date. While we welcome proce:dwal q~1cstious ab011t this RFT,
          please refrain from imiking niquiries about the evaluation of your proposal. Chubb will notify
          suppliers whether or not further discussions are warranted.


          2~ Technical Contracting Requirements

          In this section you will find the high level.r.equirements that we have developed for this RFI. Read
          tlris section carefl.41y and prepare your bid based on the infomwtion contained herein.

          2.1 Scope ofServices
                                                                                                                  1
                                                                                                                      ~   {   Formatted: left
          Renewal Processmg: Future State

          The goal of.this project is to create an application & archite<,ture to allow for a streamlined rules
          based renewal processing engine. An additional goal is to build the foundation for a future state
          architectw;e for t\.llcs ba;sed processmg that can be applied to new projects as we seek to
          improve the efficiency of our bu!liness processin;g emiironment.


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          This project should deliver Oli the specific application func.tional req:µiremen.ts and also position
          the CSJ IT dew.trnent tQ m:aintain, enhance and develop new applications. The scope of 1:he
          services should therefore include: ·development of a turn-key renewal processing system,
          support for des~gn and coitllguratfon of the technical environment, on,-the-job trainittg for select
          CSI IT staff members working in CO'l\iunction with the selected external project team, an
          extet1ded support agreement to supply on-going 111aintenance if necessary, licensing of any third
          party software if' necessary and any other value~add that the supplier deems necessary to
          support this undertaking. ·

          Currently, any planned inodifie&ti.on to the batch process must follow .the Sy sterns Development
          Life Cycle currently in effect with CSI Jr and mt1St be prioritized against other ou:tstanding
          r.eqtrests. Also, the current application does not include an approach for determining the impact
          of planned modifications in a prospective way. For exam. le. Lhc business carmol easiL tell the
          effec,:.t of a change lo criteria. As a matter of fact. the customer will nor totallv understand or see
          the imr aet until U1e chan!!e is in roductio1~1......_.>t"_-··t_._ _ __ _ __ _ _ _ _ _ _ _ __ _ ....---{ F!itmatted: Font: Bold

          Overall, the requirement is that the rules processing s~1lution is to include:

               ±-,!_User ability to add renewal processing business rules                                           --i Formatted: Bullets and Number1ng
                                                                                                                  ...
               2-,.e_User ability to modify and delete renewal processing business rules
               ~Ability to determine impact of rule changes as a "what if'
               ,. Automated progression from test through to production .e nvimmnetits without IT
                   intervention based on end user approvals
               +.!_Ability to -capture the acceptance (sign off) of the itnpact before new/modified rules are ..-. -     [ Formatted: Bullets and Numbering
                implemented                  .
               ~Ability to bas.e rnles on a wide variety of criteria. We ne.e d the ability to apply the rnles
                qn a gr,,m ular level. - cQvera~ m, oppose4 t.o policy. Therefore, t,h.e renewing policy
                could fall into multiple categories.
               ~Security to allow " reag-,only'' access for most users and update access for a few users
                        to
                  (nice have)
               •  Ability to apply rules based on user type or location
               !._Must be simple to. use. with user~friendly interface




          2.2 Other Requirements

          Chut,b requires aU vendors to meet qr exceed minimum senrice requirements, which will be agreed
          upon before- the start of any vendor relationship(s). We have developed the following initial
          service requirement~,

         Re'IJ,lcl.irements o.f the PrQfessiQnal EnvlroJJment




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          Vendor staff must have the necessary technical skills to, perfomi the services described above.
          Chubb reserves the .right: to interview any /all vendor staff to detemrine whether such vendor staff is
          qualified to perform tht: services. Vendor staff :must have demol'\strated ability to work under
          ptes:,'Ul'e irt a fast.-p!lced team :environment They must be comfortable following direciionS and.
          meeting project deadlrties.. Professional demeanor is. expected at -all times. Vendor staff must
          possess excellent interpersonal and co.irullurucation skills;

          CSt will consider various staffmg arrangements, including cosource_.offshore, and nearshore.

          Vendor ~taff will be workin!l. with CSI staff ltis anlici ,atcd that thq_..:.'.!_oj cct team be made up ,)f
          primarily Chubb emr lovees i11cluditv a Project Mi1na.!cr and 3 dcvgl,)1crs. The vendor staff will
          be on-site · dUrinc. imd cmcntation ilnd for an am:cd-upon period of time rust-imrlementation
          1lL'l1.U1l1v. 4 weeks'. All ,,rnccsses will be documented and turned over to Chuhh Tf staff Chubb
          1T follows a documented Systellls Development Life Cycle and adherence to this is requ.ired.
          St.1tus meetings will be scheduled on a regular basis. Tim.e tracking will be followed (l)CP: Ma'i
          weAt to lftoluda a t,laiemenl sa'+ine that wader ulaff will b1:.1 ,.,..orking v,ith G~T :itaff te eem1J!ett1
          majt1ol iHlegrati011. 1)ei wti ,.rnnt Ult" ve1K~H silt! auriI-lg itnplefnentalion? D:..1 we waRI. pE:lst
          implem~alalian sup1:1t1rt an .,ite'!)

          Authorization and Order Verification
          The vendor may accept orders placed by Chubb-des~gtJ.ated authorized users only. If the vendor
          rec~ives a request from any non.authorized individual, the vendor must verify that order v,ith a
          pre-specified authorized 1iser ptior to fulfilling the request Failure to comply with th.is
          aitthorization policy may result in delayed payment or non-payment for services provided

          Responsivenes.s
          Ch:i,ibb requires collaborative working relatio.n.sh.ips with its vendors. Chubb requires accessioility
          for placemen( discrn1sions; project sphedLJling, and resnltition of negative situations.

          Management Reports
          Comprehensive management repor.ting requirements. will be agreed upon before the. start of any
          vendor relationship.




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          Business and Data Confidentiality
          Vendors of technical contracting services may have access to information relating to the business
          and activities of Chubb, its clients, suppliers and other entities with which Chubb conducts
          business. Vendors must agree to hold such information in trust and confidence for Chubb and to
          enter into a written confidentiality agreement stating the same. Furthermore, your company must
          agree to hold its staff, agents, and subcontracted staff to the same standards.

          In addition, suppliers must comply fully with Chubb's data and information security policies and
          procedures, and will be subject to random and scheduled audits to ensure compliance.

          Subcontracting
          Chubb defines a subcontractor as a business entity contracting to perform all or part of another
          supplier's contract. Subcontracting is subject to Chubb's prior written consent. In any and all
          cases, your company bears responsibility and liability for subcontractors with regard to equal
          employment regulations, legal and tax liability, unemployment and worker's compensation taxes,
          and subcontractor's compensation. Moreover, any requirements that we set forth with your
          company must be adhered to by your subcontractors, including all specifications and definitions set
          forth in the service (purchasing) agreement between Chubb and your company.

          Employment Policies and Practices
          Vendor staff performing services and all referred technical contracting staff will remain, at all
          times, staff of the vendor and will not be Chubb staff for state and federal tax purposes, or any
          other purpose whatsoever, and are not entitled to any Chubb staff benefits. The vendor shall be
          solely responsible for compensation of its staff and the technical contracting workers, including,
          but not limited to, payment of workers' compensation, disability and other similar benefits,
          unemployment and other similar insurance and for withholding income and other taxes including
          social security.


          Master Services AgreemenJ
          A copy of Chubb's standard Master Services Agreement is enclosed as Exhibit A for your review.
          In the event that any of the terms listed are unacceptable .to you, you are to document such
          unacceptance in detail in your RFI response as Appendix Al L If applicable, you are also to
          include your proposed modifications and/or compromise to the unacceptable term(s) or
          condition(s). Your unacceptance of any term or condition of Chubb's standard Master Services
          Agreement will be evaluated/considered by Chubb when making its vendor selection(s).




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              3. Instructions for Materials to be Returned

           This section provides instructions on completing the RFI requirements


          3.1 Forms: Appendix A


          General Instructions for Appendix A

          •     F orrns provided in Appendices Al through A 11 should be typewritten.

          •     When completing the forms, you are required to break out your response into all components
                requested. Submission of incomplete responses may result in your disqualification from
                consideration. Please do not deviate from the structure detailed in this RFI. If your company
                believes additional information is relevant to your particular bid, please include that
                information on separate attachments.


          Forms to be Created and Included in Appendix A


          Appendix A.I: Ordering and Billing Capabilities.

          Create an appendix labeled "Appendix Al Ordering and Billing Capabilities" and address the
          following:

          •     Please describe how you would fulfill the data requirements (e.g., manage ordering, invoice
                submission, reporting, etc.) outlined in this RFI and ensure the simplification and streamlining
                of procedures.
          •     Also describe any additional service features you may offer, such as on-site service personnel,
                or a dedicated toll-free number.


          Appendix A.2: Company Background.

          Create an appendix labeled "Appendix A4: Company Background." and provide a description of
          your company's background. Address each of the following:
                                                                                                                   .....   -
          •    Please describe your form of business organization (i.e., C-corporation, $-corporation,
               partnership or sole proprietorship), and the state/country of incorporation where applicable.
               Please give a chronological history of any changes in status of your organization.



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          •    Disclose fully all of your relationships with any and all subcontractors and other related
               companies. If any affiliates are other than wholly owned, please explain the consequences
               should such an affiliation be dissolved.

          •    Outline your strategic direction.
                                                I



          AppendixA.3: Key Personnel

          Create an appendix labeled "Appendix A.5: Key Personnel" and describe your organization's key
          personnel. Address each of the following:

          •    The organization(s) within your company, including the manager(s), who will be servicing
               Chubb's account, the National Accounts Manager, and those officers/principals to whom they
               report.

          •    Management profiles for these key personnel.

          •    The locations of your local/regional offices, along with local organizational charts and names
               of local office and account managers for geographic locations for which you are bidding

          Appendix A.4: Financial Statements and Information.

          Create an appendix labeled "Appendix A.6: Financial Statements Information" and provide the
          following financial data.

          •    Most recent audited financial statements.

          •    Indicate any publicly lmown information regarding any changes in ownership or structure,
               including pending mergers or acquisitions.


          Appendix A.5: Customer References.

          Create an appendix labeled "A.7: Customer References" and provide references for both existing
          and past customers. Provide the name, principal contact, address and telephone number, and
          annual billings for each of your company's three largest corporate accounts overall, the three
          largest corporate accounts in the financial services industry, and the three largest corporate
          accounts with whom you are no longer doing business. ·

         Appendix A. 6: Administrative Complaints and Lawsuits.
                                                                                                                                                  . ~- --- ~
         Create an appendix labeled "Appendix A.8: Administrative Complaints and Lawsuits" and
                                                                                                                                  _.:..-...-_.-
         indicate whether your company has been involved as a defendant in any administrative
         complaint involving employment discrimination, business operations, provision of services
         and/or any lawsuit in the past three years. If your company has been a defendant in such an


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          action, please furnish the following details, regardless of outcome: date initiated, name of
          plaintiff(s), description of complaint/lawsuit, and current status of complaint/lawsuit.

          Also provide any information relating to any breach of confidentiality or alleged breach of
          confidentiality by a supplier, independent technical contracting staff, or subcontractor of supplier.

          Additionally, provide notification of any criminal action regarding current or former staff within
          the last three years.


          Appendix A. 7: Insurance.

          Create an appendix labeled "Appendix 9: Insurance" and provide information on your insurance
          policy limits and attach evidence of coverage." Please submit your company's insurance
          information on a Certificate of Insurance form.


          Appendix A.8: Response and Pricing.

          Create an appendix labeled "Appendix 10: Response and Pricing" and provide your firm's
          response and pricing to provide the scope of services described herein. Pricing must include all
          items Chubb would be invoiced for.


          AppendixA.9: Acceptance/Non-acceptance of the terms and conditions ofChuhb's standard
          Master Services Agreement.
          Create an appendix labeled "Appendix 11: Acceptance/Non-Acceptance ofChubb's standard
          Master Services Agreement" and provide your firm's response pursuant to the Section titled
          "Master Services Agreement" found under Section 2.2 above .




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                                                            Exhibit A

                                     MASTER SERVICES AGREEMENT

                 This Master Services Agreem!:!.n t C'Agreement'') is mad,e by and between Chubb 8 Son, a dfvision
          of Federal lnsuran9e Compc:1ny, an lni:llana corporation, having its principal office at 15 Mollntain View
          Read, Warren, New Jersey, 07059 ahd Vendor Name . ("Vendor'') having an office at Vendor .Street,
          Vendor Cify, Vendor State Vendor Zip.

                    In consideration of the mutua I promises macfe by Chubb and Vendor,. the pc:irties agr!,e as follc:1ws:

          1..   beftnitions

          1.a      Chubb: "Chubb" shall mean Chubb & Son, a division Of Fetjeral Insurance Company, for itself and as s(!rvicer
          for The. Chubb Corporation arid its non-insurance company subsidiaries, or as mana!j.er of its insurance ·company"
          su·bsidiaries.                                             ·

          1.b     Intellectual. Property Rights: "Intellectual Property Rights" shall mean any and. all intellectual
          property rights, however recognized, including, bl!t not iimiteq to-, copyright, patent; trademark; trade dress,
          service marl<, trade ,secret, or arty other intellectual property right whether now existing or developed or
          created during the term of this Agreement.

           1.c       Invention: ''Invention" shaUmean any and all inventions, innovations, pr:oceS!i!?S, techniques, works
           of -authorship, developments, derivations, contributions, supplements, enhancements, and modifications,
           and any copies, adaptations, documentation, algorithms-, notes, or records thereof, incl"uding , but not
           limited to, computer programs, including both source and object versions thereof; :and attendant
          .sP.ecifications and -SOl.lrce code. listings, authqrecl, made, develc,ped, or c:onceivei;f of ani;I reduet!d le
          practice by, or.undet the direction of, Vendor during the term and within the scope of this Agreement.

          2..      scope of services

                   A.         Chubb hereby retains the services of Vendor and Vendor hereby agrees to provide
                   services as described· in a. mutually. agreed upon work. order(s} (or "proposal" or "statement of
                   wort<') which may be entered into from time to tirne ahd is incorporated herein and attached hereto
                   this Agreement as Appendix A t'Services;'). Chubb has entered th.is Agreement on the basis. of
                   the knowledge, experien<ie, abilities, qualifications anei representations as presented by Vendor.
                   Vendor shall provide the Services ih ·such a manner as to permit Chubb to have full benefit of
                   Vendon.l<nowledge, e:xpelience, abilities, qualifications and busines$ contacts.. Vendor $hali use
                   ifs bl:!st efforts to perform the Service in .a prompt, diligent am;/ prpfes$ionf:II rminner imd in
                   ace9rdance with spe<,ificalions and perform?nce requirements incll,id1ng, llut not Jfmiteci to, the
                   intermediate.-arid final delivery schedules, set fo"rfh therein. Vender's employees Will -observe
                   Chlibb's working and security rules.

                   B.        The specifications and performance re.qlJir.ements. set forth in Appendix A can be modified
                   by .Chubb from time to time, provided such modifications do not materlalry ·affect the re.sources
                   being provided oy the Yertdor or the cost of completing the fina.l product. Ve.nc:lor shall use- its bes.t
                   efforts lo perfqrrti in aC<;Ordance with tho~ moditicatibm;, unless Vendor, in its good faith bus.iness
                   judgment believes that the modification is commercially impracticable or technologically
                   i1t1possible. In the event Vendor belieYeS the modification to be commercially impracticable. or
                   technolqgrcally impossible, Vendor shall immediately notify Ch.ubb In writing ex~iaining the




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                  impracticability or impossibility. This notice does not vitiate Chubb's right to terminate these
                  services without cause as set forth in Section 10 Termination of this agreement.

          3.      Service Rates: Expenses

                  A.     Chubb agrees to pay Vendor, in exchange for Services rendered, a fee in accordance with
                  Appendix A, attached hereto.

                  B.      Chubb shall not be liable to Vendor for any expenses paid or incurred by Vendor unless
                  otherwise agreed to in writing signed by a duly authorized representative of Chubb.

                  C.       Chubb shall only be liable for the pro rata share of any payments owed, equal to the
                  number of days in which Vendor actually provided services, in any month in which this Agreement
                  is terminated.

          4.      Service Payment and Expense Reimbursement

                  A.       Chubb will pay within the greater of (a) forty-five (45) days of the invoice date; or (b) thirty
                  (30) days of Chubb's actual receipt of invoices, fo r .Services rendered and expenses Incurred
                  under this Agreement, except for those invoices subject to a good faith dispute by Chubb. Chubb
                  shall notify Vendor within twenty (20) days of actual receipt of an invoice that it intends to dispute
                  said invoice.

                  B.      Chubb may, at its option and without prior notice and during normal business hours, audit
                 Vendor's records reasonably related to the invoices issued pursuant to Section 3.A, above. Vendor
                 shall keep sufficient records at its principal place of business to allow Chubb to audit the invoices,
                 which records will be maintained for twenty-four (24) months from the date of creation. Chubb
                 acknowledges that ii and its employees, subcontractors or agents may, in the course of conducting
                 an audit, be exposed to information which is confidential or proprietary to Vendor. Chubb agrees
                 to treat all of Vendor's Confidential Information as confide11tial information, maintaining such
                 information in strict confidence, using at least the same level of care that Chubb uses to avoid
                 unauthorized use or disclosure of its own most confidential information that it did not wish to
                 become public. For purposes of this Section, "Vendor's Confidential Information" is that
                 information belonging to , or in the possession or control of, Vendor that has been clearly labeled
                 by Vendor as confidential.

          5.     Independent Contractor: Employees

                 A.        Neither Vendor nor Vendor's employees are or shall be deemed to be employees of
                 Chubb. Vendor shall be solely responsible for the payment of compensation (including provision
                 for employment taxes, federal , state and local income taxes, workers compensation and any
                 similar taxes) associated with the employment of Vendor's employees. Vendor shall also be' solely
                 responsible for obtaining and maintaining all requisite work permits, visas, and any other
                 documentation. Vendor represents that Vendor, its employees, and those parties authorized by
                 Chubb under Section 5(C), are authorized to perform such Services under this Agreement.

                 B.       Vendor acknowledges that because Vendor is engaged in its own independently
                 established business, neither Vendor, Vendor's employees, nor those parties authorized by Chubb
                 under Section 5(C) are eligible for, nor shall they participate in, any pension, health, or other
                 employee benefit plan of Chubb.

                 C.      Vendor shall take appropriate measures to ensure that its employees, and those parties
                 authorized by Chubb under this subsection, who perform Services are competent to do so and that
                 they observe the provisions of Section 7, Confidential Information; Non-Disclosure. None of




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                  the Services under this Agreement shall be provided by anyone other than Vendor's own
                  employees, unless Vendor first obtains the prior written consent of Chubb.

                  D.       Upon verbal or written notice to Vendor that an employee of Vendor is not suitable to
                  Chubb, Vendor shall thereupon immediately remove such employee(s) from the performance of
                  Services and Chubb's responsibility for any further payment or other obligations under this
                  Agreement pertaining to such employee(s) shall immediately cease. Chubb shall be the sole
                  judge as to suitability. Notwithstanding Section 2.B above, Chubb will not be liable for expenses
                  related to the removal of Vendor's employee , or expenses associated with providing a replacement
                  employee.

                   E.       During the term of this Agreement and for one (1) year after the termination of this
                  Agreement, Chubb and Vendor agree not to offer employment to or solicit the other party's
                  employees or persuade, encourage or induce any such employee (a) to cease his or her
                  employment with their employer, (b) to become employed by or affiliated in any capacity with any
                  person or firm engaged in providing the same or similar services rendered by the employee when
                  employed by his or her employer, or (c) to contact or communicate with any such employee for any
                  purpose prohibited by this paragraph ("Recruits"; "Recruiting"; "Recruitment"), without the prior
                  written consent of the other party. If either party Recruits an employee of the other party, the
                  Recruiting party shall immediately pay the other party, solely for the violation of this paragraph, an
                  amount equal to one hundred percent (100%) of the total monetary compensation (including
                  without limitation wages, salary, bonuses and commissions) paid to such employee by the other
                  party in the twelve (12) months immediately preceding such Recruitment. The parties agree that
                  the provisions of this paragraph shall not preclude or limit any available actions at law or in equity,
                  including without limitation, any form of damages or any injunctive or equitable relief, for
                  misappropriation of trade secrets, unfair competition, breach of contract or other cause of action
                  arising from or out of the hiring or Recruitment of the other party's employee(s).

          6.      Ownership and Use of Work Product: WORK FOR HIRE

                     Vendor acknowledges that all Services provided under this Agreement including, but not limited to
          all Inventions, shall be a work made for hire. Vendor agrees that all Inventions conceived of, made, or
          reduced to practice by Vendor or under its direction during the term and within the scope of this Agreement
          or association with Chubb shall be work made for hire and shall be the sole and complete property of
          Chubb, and that any and all Intellectual Property Rights relating thereto shall vest in Chubb. If for any
          reason such work is deemed not to be work made for hire, Vendor hereby grants, transfers and assigns all
          rights, title and interest in such work to Chubb.




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           7.      Confidential Information: Non-Disclosure

                   A.          In order that Vendor may perform the Services required under this Agreement, it may be
                    necessary for Chubb to disclose to Vendor or its employees or agents certain information and
                    material which may be considered to be sensitive, confidential and/or proprietary to Chubb, its
                    affiliates, subsidiaries, customers, insureds, agents, directors, officers or employees. Any and all
                    Confidential Information, as defined below in Section 7(C), disclosed to or obtained by Vendor, its
                   employees, subcontractors, or agents, in the performance of Vendor's obligations, shall be
                   deemed confidential and proprietary information belonging to Chubb. In recognition of the
                    foregoing, Vendor covenants and agrees: (a) that it will maintain all Confidential Information in
                   strict confidence, using appropriate administrative, technical and physical safeguards to protect
                   Confidential Information to avoid its unauthorized use or disclosure; (b) that it will not, directly or
                   indirectly, copy, reproduce, sell, assign, Jjcense, marl<et, transfer, or disclose any Confidential
                   Information to any third party without Chubb's prior written consent ; (c) that it will not make use of
                   any Confidential Information for its own purposes or the benefit of anyone or any other entity other
                   than Chubb, except as otherwise expressly provided under this Agreement; (d) that at any time
                   Chubb may so request, it will deliver to Chubb or, at Chubb's option, will certify the destruction of,
                   all memoranda, noted, records, reports, media, and other documents, and all copies thereof,
                   regarding or including any Confidential Information which Vendor may then possess or have under
                   its control; and (e) that it will take no action with respect to Confidential Information that is
                   inconsistent with the confidential and proprietary nature of such information.

                  B.        Vendor shall not disclose Confidential Information, except to its employees, or any other
                  party authorized by Chubb pursuant to Section S(C), having a need to know such information in
                  connection with the performance of its obligations or services. Vendor shall instruct all such
                  employees and authorized parties as to their obligations under this Section, and shall advise them
                  of their obligations to be bound by the terms and conditions of this Section prior to their being given
                  access to Confidential Information. Vendor acknowledges that it shall remain responsible and
                  liable for its employees', and any other party's, compliance with the terms of this Section .

                   C.        For purposes of this Agreement, "Confidential Information" shall include all confidential
                   and proprietary information of Chubb, whether in written, oral, electronic, magnetic, photographic,
                   optical, or any other form now existing or created or developed during the term of this Agreement,
                   including, but not limited to, the following: (a) information relating to Chubb's planned or existing
                   computer systems, system architecture, computer hardware, computer software, source code,
                  object code, documentation, program nbraries, program listings, processing methods, technical
                   processes and operational methods; (b) information regarding planned or existing insurance
                   policies, insurance coverage, insurance premiums, insurance endorsements, claims procedures,
                  or other information that describes how insurance activities are administered and managed; (c)
                  customer data, customer lists, sales, profits, pricing, and other financial information; (d) information
                  regarding Chubb's existing or planned sales and marketing activities or strategies; (e) information
                  regarding Chubb's existing or planned organizational restructuring, business affairs, and business
                  initiatives; (f) information regarding Chubb's customers, insureds, employees, directors and
                  officers; (g) confidential information of a third party licensed to, possessed by, or in the control of
                  Chubb, and which Chubb is or may be obligated to treat as confidential or proprietary; and (h) any
                  other information relating to Chubb which is not generally known to the public or within the
                  industries and trades in which Chubb competes or which may otherwise be protected by state
                  trade secret law.

                  D.        Notwithstanding Section 7(C), Confidential Information shall not include information that
                  (a) is or becomes generally known to the public, not as a result of an act, omission, or disclosure
                  by Vendor, (b) is rightfully in the possession of Vendor prior to this Agreement, (c) is independently
                  developed by Vendor without use of Chubb's Confidential Information, (d) is received by Vendor in
                  good faith and without restriction from a third party, not under a confidentiality obligation to either


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                   party, or (e) is disclosed pursuant to a court or regulatory order, provided that Vendor immediately
                   notifies Chubb upon receipt of such order and cooperates with Chubb in obtaining appropriate
                   protection from the authority issuing the order.

                   E.         This Section shall survive the termination of this Agreement.

           8.      Term

                   This Agreement shall be deemed effective as of Contract Effective Date, regardless of the date on
          which it is actually signed by both parties, and shall continue until terminated pursuant to Section 9.
          Termination. The terms of this Agreement shall remain in full force and effect both during the continuation
          of the Services or association of Vendor and after the termination of such Services or association for any
          reason .

          9.       Termination

                   A.         Services under this Agreement shall terminate:

                        (1)   upon Vendor's receipt of written notice from Chubb         that this Agreement will be
                              terminated, provided Chubb provides as least thirty (30) days prior written notice of such
                              termination.

                        (2)   upon written notice from Chubb if Vendor (i) becomes insolvent or seeks protection under
                              the Federal Bankruptcy Act or any other state laws relating to insolvency; (ii) makes a
                              general assignment for the benefit of creditors; or (iii) suffers or permits the appointment of
                              a receiver or a trustee for its business or assets.

                        (3)   immediately upon written notice from Chubb following Vendor's material breach of Section
                              7 of this Agreement.

                  B.          Chubb shall be responsible for payment for Services until the effective dale of termination.

                  C.      On termination of this Agreement for any reason, Vendor will promptly deliver to Chubb all
                  work product, correspondence, drawings, blueprints, manuals, letters, notes, notebooks, reports,
                  flow-charts, programs, proposals, or any other documents and copies thereof, whether complete or
                  incomplete, that were either produced or obtained by Vendor as the result of this Agreement.


          10.     Insurance

                   Vendor hereby represents it is adequately insured and it will, upon Chubb's request, promptly
          provide Chubb with written certification from Vendor's insurance carrier(s) of the amounts and types of
          insurance carried by Vendor. If Chubb reasonably determines that the amounts, types of insurance, or
          insurance carrier is unsatisfactory to Chubb, Chubb may require Vendor to obtain in a timely fashion
          additional or different insurance that shall be reasonably satisfactory to Chubb.




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           11.     Indemnity

                   A.        Vendor, at its own expense, shall indemnify, and hold harmless Chubb and its directors,
                   officers, employees, agents, successors, assigns, and customers, and defend any action brought
                   against Chubb, with respect to any claim, demand, cause of action, debt, liability, or expense,
                   including attorney's and expert witness fees and court and settlement costs, due to claims arising
                   from or related to Vendor's performance under this Agreement, where caused by the fault or
                   negligence of Vendor, its employees, or parties authorized by Chubb under Section 5(C).

                   B.        Vendor, at its own expense, shall indemnify, and hold harmless Chubb, and its directors,
                   officers, employees, agents, successors, assigns, and customers, and defend any action brought
                   against Chubb, with respect to any claim, demand, cause of action, debt, liability, or expense,
                   including attorney's and expert witness fees and court and settlement costs, due to claims arising
                   from or related to any claim of Intellectual Property Rights infringement by a third party, or claims
                   of unfair competition or trade secret violation, and any other claim arising out of Chubb's use or
                   possession of any products, materials, or Services provided by or developed by Vendor under this
                   Agreement.

                   c.      Vendor shall have the option to assume control of such defense, but shall not select
                   counsel or settle any claim without the prior written approval of Chubb, which approval shall not be
                   unreasonably withheld. Vendor shall also allow Chubb the right of free association during such
                   defense, and shall keep Chubb adequately informed of all developments and strategies related to
                   such defense.


          12.      Governing Law

                    This agreement shall be governed by, subject to, and, enforced and interpreted in accordance with
          the laws of the State of New Jersey, including the remedies available for breach hereof, without regard to
          its conflict of laws principle.

          13.      Entire Agreement

                  This Agreement, and the attachments hereto, constitutes the entire agreement and understanding
          between the parties with respect to the subject matter of this Agreement, and supersedes all prior
          discussions, understandings, and agreements between the parties. No alteration or modification of this
          Agreement shall have any force or effect unless such modification is in writing, signed by duly authorized
          representatives of both parties, and affixed to this Agreement in the form of an addendum.

          14.      Severabilitv

                   If any of the provisions contained in this Agreement are held to be illegal, invalid, or unenforceable,
          the enforceability of fhe remaining provisions shall not be impaired and the Agreement shall continue as if
          such illegal, invalid, or unenforceable provisions are not contained in this Agreement.

          15.      Assignment

                   This Agreement may not be assigned by either party without the prior written approval of the non-
          assigning party. Except for the prohibition on assignment contained in the preceding sentence, this
          Agreement shall be binding upon and inure to the benefit of the heirs, successors and assigns of the
          parties to this Agreement.




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           16.     Notices

                   Notices with regard to this Agreement shall be delivered in person or sent via United States first
           class postage prepaid, certified or registered mail, or sent via a recognized traceable shipping service (i.e.
           FEDEX, UPS, etc.) to the persons and addresses listed below:

          Chubb:             Dennis Bostedo
                             Vendor Management Group
                             Chubb & Son, a division of Federal Insurance Company
                             15 Mountain View Road
                             Warren, New Jersey 07059

          Vendor: Vendor Name
                         Attn: Vendor Contract
                         Vendor Street
                         Vendor City, Vendor State Vendor Zip

          17.      Publicity.

                    Vendor shall not make use of Chubb's name, logo, trademarks or service-marks, or its association
          with Chubb arising either from discussions leading to this Agreement or from the Agreement itself, for
          publicity, advertising, marketing or other purposes without the express written consent of Chubb in each
          instance.

          18.      Captions.

                    Captions and section headings used in this agreement are for convenience only and are not a part
          of this agreement and should not be used in construing ii.

          19.      Limitation of Liability

                   A.     NEITHER PARTY SHALL BE LIABLE TO THE OTHER FOR INDIRECT, SPECIAL OR
                   CONSEQUENTIAL DAMAGES ARISING OUT OF THIS AGREEMENT.          HOWEVER, THIS
                   LIMITATION SHALL NOT APPLY TO DAMAGES OF ANY KIND RELATED TO CRIMINAL,
                   INTENTIONAL, RECKLESS, OR GROSSLY NEGLIGENT CONDUCT OR OMISSIONS ON THE
                   PART OF Vendor, Vendor'S EMPLOYEES, OR PARTIES AUTHORIZED UNDER SECTION S(C).


                   B.        With respect to the performance of Chubb under this Agreement, in no event shall Chubb
                   be liable to Vendor, any of its officers, directors, employees, or shareholders, or to any third party,
                   whether a claim be in tort (except for any claim based upon fraud), contract, or otherwise for any
                   amount in excess of the total fees paid by Chubb to Vendor under this Agreement, except that this
                   limitation shall not apply to any claim based upon fraud, intentional misconduct or gross
                   negligence.




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           20.     Force Majeure.

                           No delay in or failure of performance by either party under this Agreement will be
                   considered to be a breach hereof if and to the extent that such delay or failure of performance is
                   caused by an occurrence or occurrences beyond the reasonable control of the party affected.


                  IN WITNESS WHEREOF, the parties hereto, each acting with due and proper
          authority and acknowledging that they have read this Agreement, understand it
          and agree to be bound by its terms, have executed this Agreement, as of the date
          first set forth above in Section 8:


          CHUBB & SON,                                              Vendor Name
          a division of Federal Insurance Company,                  'Vendor"
          for itself and as servicer for The Chubb Corp.
          and its non-insurance company subsidiaries, or
          as manager of its insurance company subsidiaries.
          "Chubb"



          Signature                                                 Signature

          By: _ __ _ _ __ _ _                                       By: _ __ _ _ __ __

          Title:_ _ _ __ __ _ __                                    Title: _ _ __ _ __ _ __

          Date:_ ___________                                        Date: _ ___________




                                                                                                                                      s. ·.




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